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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

CHRIMAR SYSTEMS, INC.                      §
d/b/a CMS TECHNOLOGIES, INC.,              §
a Michigan corporation,                    §          Civil Action No. 2:09cv044-TJW
                                           §
             Plaintiff,                    §
                                           §
v.                                         §
                                           §
DANPEX CORP.,                              §          JURY DEMAND
a California corporation,                  §
                                           §
             Defendant.                    §

                     ORDER GRANTING UNOPPOSED
              MOTION FOR ENTRY OF SETTLEMENT AGREEMENT

      On this day, Plaintiff ChriMar Systems, Inc., and Defendant Danpex Corp.,

announced to the Court that they have settled their respective claims for relief asserted

in this case. The Court, having considered this request, is of the opinion that their

request for dismissal should be granted.

      IT IS THEREFORE ORDERED that all claims for relief asserted or which could

have been asserted against Danpex Corp. by ChriMar Systems herein are dismissed,

with prejudice.

      IT IS FURTHER ORDERED that all attorneys’ fees, costs of court and expenses

shall be borne by each party incurring the same.
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       SIGNED this 20th day of May, 2009.



                                            __________________________________________
                                            T. JOHN WARD
                                            UNITED STATES DISTRICT JUDGE
